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 8                             UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10                                SAN FRANCISCO DIVISION
11

12   IN RE CALIFORNIA BAIL BOND                Master Case No. 3:19-CV-00717-JST
     ANTITRUST LITIGATION
13                                             STIPULATION OF DISMISSAL
                                               WITHOUT PREJUDICE OF DEFENDANT
14                                             CRUM & FORSTER INDEMNITY
     THIS DOCUMENT RELATES TO:                 COMPANY
15
     All Actions                               Fed. R. Civ. P. 41(a)(1)(A)(ii)
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                                                      STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     1805237.1
                                                                         CASE NO. 3:19-CV-00717-JST
      Case 4:19-cv-00717-JST             Document 55         Filed 07/15/19      Page 2 of 2



 1               WHEREAS, Defendant Crum & Forster Indemnity Company (“CIFC”) has certified
 2   under penalty of perjury that it did not issue, sell, or offer bail bonds in the State of California at
 3   any time during the alleged class period, since at least February 24, 2004;
 4               NOW THEREFORE:
 5               1.    Plaintiffs Shonetta Crain and Kira Serna agree to the voluntary dismissal without
 6   prejudice of all pending claims against CFIC pursuant to Federal Rule of Civil Procedure
 7   41(a)(1)(A)(ii). The stipulation does not impact the rights of any person not party to this
 8   agreement.
 9               2.    The dismissal is without an award of attorney’s fees, interest, or costs to any party
10   as between Plaintiffs and CFIC, as each side will bear their own attorney’s fees and costs.
11
     Dated: July 15, 2019                                    By: /s/ Dean M. Harvey
12

13                                                         Dean M. Harvey (SBN 250298)
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     Dated: July 12, 2019                                    By: /s/ Vincent S. Loh
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28                                                           Company

                                                                  STIPULATION OF DISMISSAL WITHOUT PREJUDICE
     1805237.1                                         -1-                            CASE NO. 3:19-CV-00717-JST
